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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-740V
                                      Filed: April 22, 2016
                                         UNPUBLISHED
*********************************
AMY LOEDING,                                      *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Jeffrey Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for respondent.


                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

        On July 16, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (SIRVA) following receipt of her October 10, 2014 influenza vaccination.
On March 18, 2016, the undersigned issued a decision awarding compensation to
petitioner based on respondent’s proffer. (ECF No. 27).

      On April 6, 2016, petitioner filed a motion for attorneys’ fees and costs. (ECF No.
31). Petitioner requests attorneys’ fees in the amount of $13,952.50 and attorneys’

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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costs in the amount of $1,304.91 for a total amount of $15,257.41. 3 Id. at 1. In
compliance with General Order #9, petitioner filed a signed statement indicating
petitioner incurred no out-of-pocket expenses. On April 20, 2016, respondent filed a
response to petitioner’s motion. 4 (ECF No. 33).

        In her response, respondent argues that “[n]either the Vaccine Act nor Vaccine
Rule 13 contemplates any role for respondent in the resolution of a request by a
petitioner for an award of attorneys’ fees and costs.” Id. at 1. Respondent adds,
however, that she “is satisfied the statutory requirements for an award of attorneys’ fees
and costs are met in this case.” Id. at 2. Respondent further “asserts that a reasonable
amount for fees and costs in the present case would fall between $12,000.00 to
$14,000.00” but provides no basis or explanation for how she arrived at this proposed
range. Id. at 3.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $15,257.41 5 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Jeffrey Pop, Esq.

        The clerk of the court shall enter judgment in accordance herewith. 6




3
  On April 7, 2016, petitioner filed an Amended Motion for Attorneys’ Fees and costs. (ECF No. 32.) The
amended motion raised additional arguments supporting the amount of petitioner’s request for attorneys’
fees and costs, but did not seek to amend the actual amount of the fees and costs requested on
petitioners’ initial motion.

4Respondent’s response addressed both petitioner’s initial motion for attorneys’ fees and costs as well as
petitioner’s amended motion for attorneys’ fees and costs.
5 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

6 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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IT IS SO ORDERED.

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




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